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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  KELLY J. VAY,                                    )
                                                   )
                                 Plaintiff,        )
                                                   )
            v.                                     )         Civil Action No. 15-1060
                                                   )         Hon. Nora Barry Fischer
  ALLEGHENY COUNTY OF                              )
  PENNSYLVANIA; WILLIAM MCKAIN,                    )
  County Manager in his individual and official    )
  capacity; KARL WILLIAMS, Medical                 )
  Examiner, in his individual and official         )
  capacity; ROBERT HUSTON,                         )
  Administrator, Laboratory Director of the        )
  Medical Examiner of Allegheny County, in         )
  his individual and official capacity;            )
  STEPHEN PILARSKI, former Administrator           )
  of the Office of the Medical Examiner of         )
  Allegheny County and currently Deputy            )
  Manager of Allegheny County, in his              )
  individual and official capacity; and            )
  MICHAEL BAKER, former Manager of                 )
  Morgue Operations, in his individual             )
  capacity,                                        )
                                                   )
                                  Defendants.      )

                                              JUDGMENT

        AND NOW, this 1st day of November, 2017, the Court having granted Defendants’

Motion for Summary Judgment,

        IT IS HEREBY ORDERED that judgment is entered in favor of Defendants and against

Plaintiffs; and,

        FINALLY, as there are no remaining claims in this action, the Clerk of Court shall mark

this case CLOSED.

                                                       /s/ Nora Barry Fischer
                                                       Nora Barry Fischer, U.S. District Judge
cc/ecf: All counsel of record.
